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UN!TED STATES DlSTR|CT COURT
DISTRICT OF CONNECTECUT

‘LOUlS C. BERCKMOES,

Piain’tiffs, '. NO. 311 1-CV»O1220-RNC

V.

STlPULATEON OF [)ISM|SSAL
CENTURY FiNANC¥/-\L SERVlCES, INC. t WETH PRIZJUDICE

[Jefendant.

Th@ Plaintiff and Defendant, by and through the undersigned hereby stipu¥ate that the
above entitled action shail be dismissed With prejudice to Plaintiff on his complaint and

Without costs and!c)r attorneys fees to any party.

 

 

THE PLA¥NT¥FF, /" THE DEFENDANT,
LOU|S C. BERCKMOE CENTURY FENANCIAL SERVICES,
|NC.

By \ By: %\’\ C"§.Q£;//)P
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